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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
 Plaintiff/Respondent,                        )
                                              )
 vs.                                          )      NO. 2:09-cr-43
                                              )
 HANEEF JACKSON-BEY,                          )
                                              )
 Defendant/Petitioner.                        )


                            OPINION AND ORDER

       This   matter   is   before      the       Court   on     the    “Motion      for

 Reconsideration,” filed by Petitioner, Haneef Jackson-Bey, on July

 17, 2012 (DE #421).    For the reasons set forth below, the motion is

 DENIED.



 BACKGROUND

       On August 23, 2011, Jackson-Bey, pro se, filed a Petition

 under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By

 a Person in Federal Custody.            This Court entered an order on

 January 23, 2012, denying the section 2255 petition (DE #409).

 Jackson-Bey then filed the instant motion to reconsider, requesting

 relief from that judgment, and asking to file a supplemental reply

 to the Government’s response in opposition to his Section 2255

 petition.
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 DISCUSSION

       "Motions for reconsideration serve a limited function:                    to

 correct   manifest   errors   of   law    or   fact     or   to   present   newly

 discovered evidence."      Keene Corp. v. Int'l Fid. Ins. Co., 561 F.

 Supp. 656, 665 (N.D. Ill. 1982).            A motion for reconsideration

 performs a valuable function where:

              [T]he Court has patently misunderstood a
              party, or has made a decision outside the
              adversarial issues presented to the Court by
              the parties, or has made an error not of
              reasoning but of apprehension.     A further
              basis for a motion to reconsider would be a
              controlling or significant change in the law
              or facts since the submission of the issue to
              the Court. Such problems rarely arise and the
              motion to reconsider should be equally rare.

 Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185,

 1191 (7th Cir. 1990) (quoting Above the Belt, Inc. v. Mel Bohannan

 Roofing, Inc., 99 F.R.D. 99, 101 (E.D. Va. 1983)).

       However, motions to reconsider "cannot in any case be employed

 as a vehicle to introduce new evidence that could have been adduced

 during the pendency of the [motion]."          Caisse Nationale De Credit

 Agricole v. CBI Indus., Inc., 90 F.3d 1264, 1269 (7th Cir. 1996).

 In other words, the parties cannot introduce evidence previously

 available, but not used in the prior proceeding.                      See Roche

 Diagnostics Corp. v. Bayer Corp., 247 F. Supp. 2d 1065, 1068 (S.D.

 Ind. 2003).    Motions for reconsideration are also not vehicles for

 "rehashing previously rejected arguments or arguing matters that

 could have been heard during the pendency of the previous motion."

 Caisse, 90 F.3d at 1264 (citations omitted).
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       In this case, reconsideration is not warranted.                  Petitioner

 has not pointed to a significant change in the law since he

 submitted his section 2255 petition to the Court, or any patent

 error this Court committed, or any newly discovered evidence. This

 Court thoroughly addressed all of Jackson-Bey’s arguments in its

 20-page opinion, and this Court stands by its previous ruling,

 finding    that    Jackson-Bey's       section      2255      petition        fails.

 Additionally, to the extent Jackson-Bey requests the opportunity to

 file a supplemental reply, this request is also denied.                     Jackson-

 Bey filed a reply in support of his section 2255 on October 31,

 2011 (DE #407), which was considered by this Court in reaching the

 outcome of the motion.



 CONCLUSION

       For the aforementioned reasons, the Motion for Reconsideration

 is DENIED.




 DATED: July 24, 2012                          /s/ RUDY LOZANO, Judge
                                               United States District Court




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